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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH DAKOTA

SOUTHERN DIVISION

 

 

SALA NAAMBWE AND YVETTE
NIMENYA,

Plaintiffs,
vs.
Sl\/IITHFIELD FOODS,

Defendant.

 

Case No: 4:17-cv-(}4123-LLP

PLAIN'I`IFFS’ PROP()SED
INSTRUCTIONS AND JURY VERDICT
FORM (WITH SOURCES}

 

 

COME NOW the Plaintiffs in the above»entitled matter, and pursuant to the Coul't’S

Scheduling Order dated July 31, 2018 (Doc # 43), submit the following Proposed Jury Instructions

Nos. 1 - 19 plus a proposed Verdict Form. A clean copy of the Same are filed Simultaneously.

oaer this 10th day Of Sepremb@r, 2013.

JOHNSON POCHOP & BARTLING

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Atforneys for Plaim‘ijj”’$ Sala Naambwe and
Yvel‘te Nimenya

 

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CERTIFICATE OF SERVICE

The undersigned attorney for the Plaintiffs states that on the l()th day of September, 2018, l
electronically filed the foregoing With the Clei'l< of Courts using the Cl\/l/ECF system Which Will
automatically Send email notilication of such filing to the following counsel:

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Nimenya '

 

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PLAINTIFFS’ PROPOSED INSTRUCTION NO. 1
(Statement of the Case)

This is a civil action. The Plaintiffs seek to recover monetary damages against the

Defendant.

Plaintiffs Sala Naambwe and Yvette Nirnenya each claim that the Defendant Smithi`leld
Foods, lnc. violated Title Vll of the Civil Rights Act of 1964 in one or two Ways: (l) by retaliating
against them because they opposed discriminatory treatment in its Workplace; and/or (2) by
discriminating against them creating a hostile Work environment due the Plaintitfs’ race and/or
national origin. They claim they have Suffered vocational loss, emotional distress, humiliation,

fear and loss of reputation as a result

The Defendant admits that the Plaintifl`s Were subject to a discriminatory act by a co-
Worlter, but asserts that it Was an isolated incident and that it Was properly addressed by its
managers lt disputes that Plaintii`fs have evidence that they have been subject to either retaliation
or a hostile Work environment lt further alleges that Plaintiffs have not been damaged or have

failed to mitigate their damages, if any.

lt Will be your duty to decide from the evidence Whether the Plaintiffs are entitled a verdict
against the Defendant Smithiield Food, lnc.

AUTHORITY: 8“’ Cir. Civil Jury Instruction 1.03 (Modified as shown).

 

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PLAINTIFFS’ PROPOSED INSTRUCTION NO. 2

(Deposition Tcstimony at Trial)

Testimony may be presented to you in the form of deposition A deposition is the record
answers a witness made under oath to questions asked by lawyers before trial. The deposition

testimony to be offered was recorded in writing and WillM be read to you. ]-Ewaseleetronieally

.. You should consider the deposition

 

testimony, and judge its credibility, as you would that of any witness who testifies here in person.
You should not place any significant on the manner or tone used to read the witness’s answers to

you.

AUTHORITY: 8“‘ Cir. Civil Jury Instruction 2.14 (Inodified as shown).

 

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PLAINTIFFS’ PROPOSED INSTRUC'I`ION NO. 3
(Burden of Proof)

You Will have to decide whether certain facts have been proved by the greater Weight of
the evidence. A fact has been proved by the greater weight of the evidence if you find that it is
more likely true than not true. You decide that by considering all of the evidence and deciding
what evidence is more believable

You have probably heard the phrase “proof beyond a reasonable doubt.” That is a stricter
standard than “more likely true than not true.” lt applies in criminal cases, but not in this civil case;
so put it out of your mind.

AUTHORITY: 8“‘ Cir. Civil Jury Instruction 3.04.

 

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PLAINTIFFS’ PROPOSED INSTRUCTION NO. 4
(Credibility of Witnesses)

ln deciding what the facts are, you may have to decide what testimony you believe and
what testimony you do not believe. You may believe all of what a witness said, or only part of it,
or none of it.

You may consider a witness’s intelligence; the opportunity the witness had to see or hear
the things testified about', a witness’s memory, knowledge, education, and experience; any
reasons a witness might have for testifying a certain way; how a witness acted while testifying;
whether a witness said something different at another time; whether a witness’s testimony
sounded reasonable; and whether or to what extent a witness’s testimony is consistent with other
evidence you believe

ln deciding whether to believe a witness, remember that people sometimes hear or see
things differently and sometimes forget things. You will have to decide whether a contradiction
is an innocent misrecollection, or a lapse of memory, or an intentional falsehood; that may

depend on whether it has to do with an important fact or only a small detail.

AUTHORITY: 8“‘ Cir. Civil Jury Instruction 3.03.

 

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PLAIN'I`IFFS’ PROPOSEI) INSTRUCTION NO. 5
(Corporation as Defendant)

The fact that the defendant is a corporation is immaterial A corporation acts only
through its agents or employees and any agent or employee of a corporation may bind the
corporation by acts and statements made while acting within the scope of the authority delegated
to the agent by the corporation, or within the scope of his g her {€his){hei%}-duties as an
employee of the corporation ln general, all corporations are responsible under the law for any
acts, omission and statements of their employees made or done within the scope of their duties

as employees of the government

AUTHORITY: 8*" Cir. Civil Jury Instruction 5.23 (modified as shown above).

 

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PLAINTIFFS’ PR()POSE]) INSTRUCTION NO. 6
(Elements of Retaliation)

Your verdict must be for Plaintiffs l\/ls. Naambwe and/or Ms. Nimenya and against

Defcndant Smithfield Foods, lnc. on Plaintiffs’ retaliation claims under Title Vll of the Civil

Rights of 1964 if all the following elements have been pr'oved:

 

opposed Scott Genzler’s discrimination based on race, national origin and gender by reporting him
to their direct manager and by reporting him and other supervisors and staff who engaged in

retaliatory behavior toward them to the Defendant’s l-luman Resources managers; and

Second, the Plaintiff reasonably believed that Mshe was being discriminated against on

the basis of race, national origin and gender; and

Third, the Defendant pgas%h&pged?&aag£eaed;reassrgned~thaplamtrfl:) gave the Plaintiff

disciplinary actions, subiected her to unfavorable terms and conditions of employment in terms of

work assignmentsq and less favorable rules of conduct in the workplac§'Land

Fourth, disciplinary actions, unfavorable terms and conditions of employment in terms of
work assignments and less favorable rules of conduct in the workplace might well dissuade a
reasonable worker in the same or similar circumstances as Ms. Naambwe or l\/ls. Nimenya from

making or supporting a charge of discrimination; and

Fifth, the l’laintiff’ s opposition to discriminatory treatment, as set forth in the essential First

element above, was a “determining factor” in Defendant’s decisions The Plaintiff’ s opposition to

 

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discriminatory treatment was a “determining factor” only if Dcfendant would not have given the

disciplinary actions and unfavorable iob and work assignments but for their opposition to
discriminatory treatment; it does not require that their opposition was the only reason for

Defendant’s decision

You may find that the Plaintiff’ s §age}{rae%%sez§ opposition was a determining
{metivating} factor in Defendant’s decisions if it has been proved that Defendant’s stated reasons

for its decisions are not the real reason, but are pretext - that is, an excuse ~ to hide retaliation

 

lf any of the above fi_v§ elements has not been proved by the greater weight of the evidence,

your verdict must be for Defendant and you need not proceed further in considering this claim.

 

AUTHORITY: 8*ll Cir. Civil Jury Instruction 10.41 (modified as shown); Ogden v. Wax
Works, Inc., 214 F.3d 999, 1007 (8*" Cir 2007); Lopez v. Ammark Urqf & Career Apparel, Inc.,
426 F. Supp. 2d 914, 940) (N.D. lowa 2906); Univ. of Texas SWMed Ctr. v. Nassar, 133 S.Ct.
2517, 2533 (2013); Burmge v. United States, 134 S. Ct. 881, 890 (2014)(citing Nassm').

 

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PLAINTIFFS’ ROP()SED INSTRUCTION NO. 7
(Good Faith Belief)

The Plaintiffs do not need to prove that the underlying employment practice by the
employer was unlawful; instead, employees are protected from retaliation, if they oppose an
employment practice that they reasonably and in good faith believe to be unlawful

AUTHORI'I`Y: Clark County School Distri.ct v. Breeden, 532 U.S. 268 (2001); Wentz
v. Maryland Cas. Co., 869 F.Zd 1153, 1155 (8th Cir. 1989)

 

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PLAINTIFFS’ PROPOSED INSTRUCTION NO. 8
(Supervisory Liability)

An employer is liable when its supervisor’s discriminatory act results in a tangible
employment action. A t a n gi b l e employment action taken by the supervisor becomes for

Title Vll purposes the act of the employer

AUTHORITY: Burlington Imius., Inc. v. Ellertk, 524 U.S. 742, 761, 118 S. Ct. 2257,
2269 (1998).

 

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PLAINTIFFS’ PR()POSE]) INSTRUCTION N(}. 9
(Tangible Employment Action)

A “tangible employment action” for purposes of this case means a significant change in
employment status, such as hiring, firing, failing to promote, reassignment with significantly

different responsibilities, or a decision causing a significant change in benefits

AUTHORITY: Burlington Imlus., Inc. v. Ellerth, 524 U.S. 742, 761 (1998) (citations
omitted).

 

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I’LAINTIFFS’ PR()POSED INSTRUCTI()N NO. 10
(Hostile Work Environrnent Defined)

For the Defendant to be liable in this case, the harassment that the Plaintiffs complain of
must be sufficiently pervasive so as to alter the conditions of employment and create an abusive
working environment The Plaintiff must show a practice or pattern of harassment against her.
A single incident or isolated incidents generally will not be sufficient The P laintiff must

generally show that the harassment is sustained and nontrivial.

A hostile work environment is assessed in the totality of the circumstances ln
determining whether an environment is hostile or abusive, the relevant factors include the
frequency of the discriminatory conduct; its severity; whether it is physically threatening or
humiliating, or a mere offensive utterance ; and whether it unreasonably interferes with an

employee’s work performance

AU'I`HORITY: Harris v. Forkll'ft Sys., Inc., 510 U.S. 17, 22 (1993); Famgher v. City
of Boca Raton, 524 U.S. 775, 786 (1998).

 

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PLAINTIFFS’ PROPOSED INS'I`RUCTION NO. 11
(Determining Factor and Pretext)

You may find that the Plaintiffs’ {agQ-race and/ or national origin §sex§_was a

 

l§rneti‘\»lating} determining factor in the Defendant’s actions against each Plaintiff {deeision) if it

has been proved that the Defendant’s stated reasons for its actions {deeision) are {€is}€are)-}

 

not the real reason, but are {€is}-Eare}]-a pretext to hide l€age'}{sezey€me%} discrimination

AUTHORITY: 8“‘ Cir. Civil Jury Instruction 10.41 (modified as shown).

 

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PLAINTIFFS’ PROPOSEI) INSTRUCTION NO. 12
(Determining factor defined)

As used in these instructions, a Plaintiff’ s §§ma,gender:race or national origin,-rel`rgien;
disabth was a “detcrmining motivating factor,” if the Plaintiff s race or national origin,
religion,_d-isability played a part or a role in the defendant’s actions toward the Plaintiffs¢
deeision-toJC-he-plaintiff: However, the Plaintiff’ s race or national origin {sez¢gender,_raee;
…;dr§&bilrt§d need not have been the only reason for the Defendant’s

action.

AUTHORITY: 8th Cir. Civil Jury Instruction 8.10 (rnodified as shown).

 

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PLAINTIFFS’ PROPOSED INSTRUCTION NO. 13
(Supervisory Liability)

lf the verbal abuse, intimidating behavior, unwanted touching, and other abusive
treatment including unwarranted disciplinary actions and unfavorable job assignments {deseribe
aHegedeondueaor-eondn+ens-gw+ng-rrsete$be-plamufllaelaun§ was allegedly done by {name
of-individual€s}or persons who were empowered to make a significant change in the
employment status of the Plaintist employment, such as hiring, Hring, failing to promote,
reassigning to a position with significantly different responsibilities or causing a significant
change in benefits, then you should use lnstructions __ through § in determining your
verdict Howeyer, if §namaof-individual€s)-eiithe persons who allegedly engaged in _\Qrb_al
abuse, intimidating behavior, unwanted touching and other abusive treatment were not
empowered to make a significant change in the employment status of the Plaintiff"s
employment, then you should use lnstructions ¥througlr _=__in determining your verdict.

AU’I`HORITY: 8"’ Cir. Civil Jury lostruction 8.20 (modified as shown).

 

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PLAINTIFFS’ PROPOSED INSTRUCTION NO. 14
{Elernents of Harassrnent based on Race or National ()rigin/Supervisor)

Your verdict must be for Plaintiffs Ms. Naambwe and/or l\/ls. Nimenya and against
Defendant Smitlrfield Foods, lnc. on Plaintiffs’ claims of race and/or national origin
harassment if all the following elements have been proved:

First, the Plaintiff was subjected to verbal abuse, intimidating behavior, unwanted
touching, unwarranted disciplinary actions and unfavorable job assignments;

Second, such conduct was unwelcome; and

Third, such conduct was based on the plaintiff’ s race or national origin {€smsigender%-Eraee)

'and

 

Fourth, such conduct was sufnciently severe or pervasive that a reasonable person in the

Plaintiff’s position would find the Plaintiff’s work environment to be hostile {abusiv\%}; and

Fifth, at the time such conduct occurred and as a result of such conduct, the Plaintiff
believed her {€his)j work environment to be hostile-f€l¢rostilQ-(abusiv¢%}.

lf any of the above @v§ elements has not been proved by the greater weight of the

evidence, your verdict must be for Defendant and you need not proceed further in considering this

claim.

AUTHORITY: S*h Cir. Civil Jury Instruction 10.41 (modified as shown).

 

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PLAINTIFFS’ PROPOSED INSTRUCTI()N NO. 15
(Elements of Harassment based on Race or National Origin/Non-supervisor)
Your verdict must be for Plaintiffs Ms. Naambwe and/or Ms. Nimenya and against
Defendant Smithfield Foods, lnc. on Plaintiffs’ claims of race and/or national origin
harassment if all the following elements have been proved:
First, the Plaintiff was subjected to verbal abuse, intimidating behavior, unwanted
touching, unwarranted disciplinary actions and unfavorable job assignments; and

Second, such conduct was unwelcome; and

’l`hird, such conduct was based on the Plaintiff" s race and/or national origin

 

Fourth, such conduct was sufficiently severe or pervasive that a reasonable person in the
Plaintiff` s position would find the Plaintiff’ s work environment to be hostile {Eabasiv%j; and

Fifth, at the time such conduct occurred and as a result of such conduct, the Plaintiff
believed her {€his§} work environment to be hostile {Qabusiv@j; and

SiXth, the Defendant knew or should have known of the verbal abuse, intimidating
behavior, unwanted touching, unwarranted disciplinary actions and unfavorable job
assignments directed at the Plaintiff; and

Seventh, the Defendant failed to take prompt and appropriate corrective action to end
the harassment

lf any of the above elements has not been proved, your verdict must be for the
Defendant and you need not proceed further in considering this claim.

AUTHORITY: 8th Cir. Civil Jury Instruction 10.42 (modified as shown).

 

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PLAINTIFFS’ PROPOSED INSTRUCTION NO. 16
(Affirmative defense to hostile work environment claim/supervisor with no tangible
employment action)

Your verdict must be for Smithfield Foods lnc. on the Plaintiff’s claim of harassment if

 

it has been proved that (a) the Defendant exercised reasonable care to prevent and correct
promptly any harassing behavior; and (b) that the Plaintiff unreasonably failed to take follow

the Defendant’s written policies and procedures

 

AU'I`HORITY: 8“‘ Cir. Civil Jury Instruction 8.60 (modified as shown).

 

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.PLAIN’I`IFFS’ PROPOSED INSTRUCTION NO. 17

(Actual Damages)
lf you find in favor of a Plaintiff under lnstructions or , and if you answer
“no” in response to lnstruction , then you must award the Plaintiff such sum as you find will

fairly and justly compensate he_r thaplaintiff for any damages you find the Plaintiff sustained as a
direct result of the Defendant’s retaliatory and/or discriminatory actions against that Plaintiff. Each
Plaintiff’ s claims include damage claims for lost wages emotional pain, suffering, inconvenience,

mental anguish and loss of enioyment of life.

 

 

You are also instructed that the Plaintiff has a duty under the law to “mitigate” § {ths)

§her§}damages - that is, to exercise reasonable diligence under the circumstances to minimize
l§;{€his}€her)]-damages. Ther'efore, if you find that the Plaintiff failed to seek out or take
advantage of an opportunity that was reasonably available to hern {éhim}€hel§]; you must reduce
gaf {{his)-€her%j-damages by the amount she {Ehe)~€sh%} reasonably could have avoided if she

f€h@{sh%} had sought out or taken advantage of such an opportunity

 

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Remember, throughout your deliberations7 you must not engage in any speculation,
guess, or conjecture and you must not award damages under this lnstruction by way of

punishment or through sympathy

AUTHORITY: 8th Circuit Civil Jury Instruetion 5.70 (modified as shown).

 

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PLAINTIFFS’ PROPOSED INSTRUCTION NO. 18
(Nominal Damages)

lf you find in favor of the Plaintiff under lnstruction and if you answer “no” in
lnstruction , but you but you find that the plaintiffs damages have no monetary value, then
you must return a verdict for the Plaintiff in the nominal amount of One Dollar ($1.00).

AUTI-IORITY: 8th Circuit Model Civil Instruction 5.72.

 

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PLAINTIFFS’ PROPOSED INSTRUCTION NO. 19
(Punitive Damages)

ln addition to the damages mentioned in other instructions, the law permits the jury under
certain circumstances to award punitive damages

lf you find in favor of a Plaintiff under instructions and _m_d, and if you answer “no”
in response to lnstruction___, then you must decide whether the Defendant acted with malice
or reckless indifference to that Plaintiff’ s right not to be discriminated against on the basis of
her {Ehis){heM-ESQQ race and/ or national origin or to be free from retaliation The Defendant

acted with malice or reckless indifference if it has been proved that Smithfield Foods lnc.

 

maaaaam@maraaaeaaaaaramaagaétwa@taanaeafaapraaaaknew that are
harassing or retaliatory actions it took {tenninatien)7 were in violation of the law prohibiting
disoriminatioaand-retaliatien, or acted with reckless disregard of that law.
Howeyer, you may not award punitive damages if it has been proved that the Defendant made a
good-faith effort to comply with the law prohibiting ESWQ d+serrmrnatrorrandaetalratrea

lf you find that the Defendant acted with malice or reckless indifference to the
Plaintiff’ s rights and did not make a good-faith effort to comply with the law, then, in addition
to any other damages to which you find the Plaintiff entitled, you may, but are not required to,
award the Plaintiff an additional amount as punitive damages for the purposes of punishing the
Defendant for engaging in such misconduct and deterring the Defendant and others from
engaging in such misconduct in the future You should presume that a Plaintiff has been made
whole for her {l=ris,-her,_itsj-injuries by the damages awarded under lnstructionm

lf you decide to award punitive damages, you should consider the following in deciding

 

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the amount of punitive damages to award:

1. How reprehensible the Defendant’s conduct was. In this regard, you may consider
whether the harm suffered by the Plaintiff was physical or economic or both; whether there was
violence, deceit, intentional inalice, reckless disregard for human health or safety; whether the
defendant’s conduct that harmed the Plaintiff also posed a risk of harm to others; whether there
was any repetition of the wrongful conduct and past conduct of the sort that harmed the
plaintiff].

2. How much harm the Defendant’s wrongful conduct caused the Plaintiff and could
cause the Plaintiff in the future. You may not consider harm to others in deciding the amount of
punitive damages to award.

3. What amount of punitive damages, in addition to the other damages already awarded,
is needed, considering the Defendant’s financial condition, to punish the Defendant for its {his;
her,_its} wrongful conduct toward the Plaintiff and to deter the Defendant and others from
similar wrongful conduct in the future.

4. The amount of fines and civil penalties applicable to similar conduct.

The amount of any punitive damages award should bear a reasonable relationship to the

harm caused to the Plaintiff.

 

 

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AUTHORITY: 8“‘ Circuit Model Civil lnstruction 8.72 (modified as shown).

 

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH DAKOTA

 

soUTHERN DivlsroN
sALA NAAMBWE AND Yvarra
NIMENYA,
Plaintiff ease No: 4=17-cv-04123-LLP
VS' PLAINTIFFS’ PRoPosEn vniu)rcr
sMITnFiELD roor)s, FGRM
Defendant.

 

 

 

 

We the juiy, duly empaneled in the above-entitled action and sworn to try the issues therein,
find the following:
For Plaintiff Sala Naambwe:

On the retaliation claim of plaintiff Sala Naamhwe against Smithfield Foods, lnc., we find
in favor of:,

 

(Plaintiff Sala Naarnhwe) or (Defendant Smithfield Foods, lnc.)

On the race and/or national origin harassment claim of Plaintiff Sala Naambwe against
Smithfield Foods, lnc., we find in favor of:

 

(Plaintiff Sala Naambwe] or (Defendant Smithfield Foods, inc.)

Note: Answer the next questions only if either of the above findings is in favor of the
Plaintiff Sala Naarnbwe. If neither of the above findings is in favor of the
Plaintiff Sala Naarnbwe, continue on to the portion of the verdict regarding the
claims of Yvette Nimenya.

 

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On the issue of damages, we find for the Plaintiff Sala Naambwe as follows:

3 for mental anguish, emotional distress,
humiliation, loss of reputation, lost
wages and actual other damages as
submitted in lnstruction or for
nominal damages as defined in
lnstruction

 

$ Punitive damages as submitted in
instruction

 

Note: For each category, Write the dollar amount or, if none, write the word
“none” .

For Plaintiff Yvette Nimenya:

On the retaliation claim of plaintiff Yvette Nimenya against Smithfield Foods, lnc., we
find in favor of:

 

(Plaintiff Yvette Nimenya) or (Defendant Srnithfield Foods, lnc.)

On the race and/or national origin harassment claim of Plaintiff Yvette Nimenya against
Smithfield Foods, lnc., we find in favor of:

 

(Plaintiff Yvette Nimenya) or (Defendant Smithtield Foods, lnc.)

Note: Answer the next questions only if either of the above findings is in favor of the
Plaintiff Yvette Nimenya. if neither of the above findings is in favor of the
Plaintiff Yvette Nimenya, continue on to the portion of the verdict regarding the
claims of Yvette Nimenya. lf neither of the above findings is in favor of the
Plaintiff Yvette Nimenya, have your foreperson sign and date this form because
you have completed your deliberations

On the issue of damages, we find for the Plaintiff Yvette Nimenya as follows:

 

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$ for mental anguish, emotional distress,
humiliation, loss of reputation, lost
wages and actual other damages as
submitted in lnstruction or for
nominal damages as defined in
lnstruction

 

3 Punitive damages as submitted in
instruction

 

Note: For each category, write the dollar amount or, if none, write the word
C$none?, .

 

Foreperson

Dated:

 

 

